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                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
e                                                      Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       October 24, 2023


By ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007


       Re:     United States v. Samuel Bankman-Fried, S6 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        The Government writes regarding the trial schedule for this week. Last week, the
Government indicated that it had several witnesses remaining and expected to rest some time
Thursday morning. Following that representation, the Court assented to the defense’s request to
begin its case following the lunch break. Since then, the Government has further streamlined its
case, and now anticipates calling at most only one witness, FBI Special Agent Marc Troiano,
whose direct testimony is approximately thirty minutes or less, and consists principally of
authenticating a summary chart. The Government has been in discussions with the defense about
entering a stipulation about the summary chart, which would obviate the need for Special Agent
Troiano’s testimony entirely. Alternatively, the Government is seeking a stipulation from the
defense regarding chain of custody of certain electronic devices, which—if agreed upon—will at
the very least shorten Special Agent Troiano’s testimony to about fifteen minutes.

        The Government therefore respectfully requests that the defense be required to begin its
case after the Government rests, which in all events will be soon after the start of the trial day. The
parties will have had six days to prepare for the upcoming trial days and the Government is mindful
of optimizing the use of the jury’s time. The defense has provided the Government a list of six
potential witnesses for the week. In the Government’s view, the interest of trial efficiency weighs
heavily in favor of moving trial along.

       The Government raised this proposal with the defense on Monday, October 23. The
defense informed the Government this afternoon that it opposes this request.
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       In addition, the Government respectfully requests that if the defense rests on Thursday or
Friday morning, that the Court hold a charge conference on Friday afternoon, so that the parties
can proceed to closing arguments on Monday morning.



                                                    Respectfully submitted,


                                                    DAMIAN WILLIAMS
                                                    United States Attorney for the
                                                    Southern District of New York


                                             By:     /s Danielle R. Sassoon
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Cc: Counsel of Record (via ECF)
